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                                    UNITED STATES DISTRICT COURT
10
                                  EASTERN DISTRICT OF CALIFORNIA
11
                                          SACRAMENTO DIVISION
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13
     LAURA NOVOTNY,                                      ) Civil No. 2:23-cv-01880-CKD
14                                                       )
            Plaintiff,                                   ) STIPULATION AND ORDER TO EXTEND
15                                                       )
            v.                                           ) BRIEFING SCHEDULE
16                                                       )
     MARTIN O’MALLEY,                                    )
17                                                       )
     Commissioner of Social Security, 1                  )
18                                                       )
            Defendant.                                   )
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27    Martin O’Malley became the Commissioner of Social Security on December 20, 2023. Pursuant to Rule
     25(d) of the Federal Rules of Civil Procedure, Martin O’Malley should be substituted for Kilolo Kijakazi
28   as the defendant in this suit. No further action need be taken to continue this suit by reason of the last
     sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).
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            The parties stipulate through counsel that Defendant, the Acting Commissioner of Social Security
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     (the “Commissioner”), shall have an extension of 30 days to respond to Plaintiff’s Motion for Summary
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     Judgment in this case. In support of this request, the Commissioner respectfully states as follows:
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            1.       The Commissioner’s response to Plaintiff’s Motion for Summary Judgment is due
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     December 29, 2023. Defendant has not previously received an extension of this deadline.
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            2.       Counsel for the Commissioner is in the process of consulting with his client on the
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     defensibility of this matter. Counsel for the Commissioner believes that this short extension may resolve
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     this matter without necessitating this Court to address the merits of this matter. Moreover, this brief
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     extension would conserve judicial time and resources should the Parties be able to resolve this matter.
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            3.       Counsel for the Commissioner has consulted with Plaintiff’s counsel who advised that he
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     has no objections.
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            4.       This request is made in good faith and is not intended to unnecessarily delay the
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     proceedings in this matter.
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              Case 2:23-cv-01880-CKD Document 13 Filed 01/03/24 Page 3 of 3


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            WHEREFORE, Defendant requests until January 28, 2024, to respond to Plaintiff’s Motion for
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     Summary Judgment.
3
4    Date: January 3, 2024             LAW OFFICES OF FRANCESCO BENAVIDES
5                                             By:    /s/ Caspar Chan for Francesco Benavides *
6                                             FRANCESCO BENAVIDES
                                              *Authorized by email on January 3, 2024
7                                             Attorneys for Plaintiff
8
9    Date: January 3, 2024             PHILIP A. TALBERT
                                             United States Attorney
10                                           Eastern District of California
11                                     By:    /s/ Caspar Chan
12                                            CASPAR CHAN
                                              Special Assistant United States Attorney
13                                            Attorneys for Defendant
14
15
16                                               ORDER
17                 APPROVED AND SO ORDERED. Defendant shall respond to plaintiff’s motion for
18   summary judgment no later than Monday, January 29, 2024.
19    Dated: January 3, 2024
20                                               _____________________________________
                                                 CAROLYN K. DELANEY
21                                               UNITED STATES MAGISTRATE JUDGE
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